    Case 4:21-cv-01053-MWB-MP Document 13 Filed 10/05/21 Page 1 of 1




            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MARK MCKAY,                                      No. 4:21-CV-1053

           Plaintiff,                            (Chief Judge Brann)

     v.

SUPERINTENDENT HARRY and
JOHN E. WETZEL,

          Defendants.

                                  ORDER

    AND NOW, this 5th day of October 2021, in accordance with the

accompanying Memorandum, IT IS HEREBY ORDERED that:

    1.    Plaintiff’s amended complaint, Doc. 10, is DISMISSED with
          prejudice pursuant to 28 U.S.C. § 1915A(b)(1) for failure to state a
          claim upon which relief may be granted.

    2.    The Clerk of Court is directed to CLOSE this case.


                                          BY THE COURT:


                                          s/ Matthew W. Brann
                                          Matthew W. Brann
                                          Chief United States District Judge
